Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 1 of 7 PageID 125




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

NORRIS WILLIAMS,

      Petitioner,

v.                                                    Case No.: 2:22-cv-309-SPC-MRM

UNITED STATES OF AMERICA,

      Respondent.
                                              /

          CIVIL ACTION ORDER FOR CONFINED PLAINTIFF CASES1

     The Court enters this Civil Action Order to govern this action. Parties proceeding

without a lawyer and all counsel must comply fully with this Order.

1.    Disclosure Statement

      With the first appearance, each party must file a disclosure statement with the

Court. See Rule 7.1; Local Rule 3.03. For this purpose, a template Disclosure

Statement is attached. If not yet done, each party must IMMEDIATELY complete

and file this Disclosure Statement. The failure to do so may preclude any relief being

granted by the Court, including extensions of time. Each party must also complete and

file, as a separate docket entry, the attached Notice of a Related Action.

Notwithstanding the instruction in the Uniform Case Management Report, a Notice



      1
          For cases involving incarcerated, detained, or civilly committed plaintiffs.




                                             Page 1 of 7
Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 2 of 7 PageID 126




of Related Action must be filed in all cases in the Fort Myers Division, even if no

related action exists.

2. Continuing Duty to Confer and Update the Court

        After a motion is filed, and so long as it remains pending, the parties have a

mutual obligation to continue to confer in good faith to narrow or resolve the issue(s)

presented and promptly apprise the Court of any issue(s) resolved.

        To properly discharge their Local Rule 3.01(g) obligation, movants must confer

with the parties to the action and any non-party against which any relief is requested.

     “The purposeful evasion of a communication under this rule can result in a
     sanction.” Local Rule 3.01(g).

3.      Emergency Motions

        Before filing a motion designated as an “emergency” or “time-sensitive,” the

movant must review Local Rule 3.01(e); Henry v. The Fla. Bar, No. 6:15-cv-1009-ORL-

41TBS, 2015 WL 13590158 (M.D. Fla. Sept. 28, 2015); and Wiand v. Wells Fargo Bank,

N.A., No. 8:12-cv-00557-T-27EAJ, 2013 WL 12173591 (M.D. Fla. Nov. 13, 2013),

and then call the assigned magistrate judge’s chambers to apprise about the filing.

     “The unwarranted designation of a motion as an emergency can result in a
     sanction.” Local Rule 3.01(e).

4.      Motions to Strike

        The Court generally disfavors motions to strike and often considers them

timewasters. Before filing a motion to strike, the movant must review Yellow Pages

Photos, Inc. v. Ziplocal, LP, No. 8:12-cv-755-T-26TBM, 2012 WL 12920185 (M.D. Fla.


                                      Page 2 of 7
Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 3 of 7 PageID 127




Sept. 17, 2012), and United States Sec. & Exch. Comm'n v. Spartan Sec. Grp., LTD, No.

8:19-cv-448-T-33CPT, 2019 WL 3323477 (M.D. Fla. July 24, 2019), and then explain

in the motion why the requested relief is warranted notwithstanding the rationale and

authorities cited therein.

       DONE and ORDERED in Fort Myers, Florida on May 11, 2022.

        /s/ Sheri Polster Chappell                       /s/ John Badalamenti
         Sheri Polster Chappell                           John Badalamenti
       United States District Judge                   United States District Judge

            /s/ John E. Steele                             /s/ Mac R. McCoy
             John E. Steele                                 Mac R. McCoy
    Senior United States District Judge              United States Magistrate Judge

       /s/ Nicholas P. Mizell
           Nicholas P. Mizell
      United States Magistrate Judge




                                       Page 3 of 7
Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 4 of 7 PageID 128




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

NORRIS WILLIAMS,

         Petitioner,

v.                                                Case No.: 2:22-cv-309-SPC-MRM

UNITED STATES OF AMERICA,

         Respondent.



         RULE 7.1 AND LOCAL RULE 3.03 DISCLOSURE STATEMENT

Filed by:2 Enter name(s)


Each person—including each lawyer, association, firm, partnership, corporation,
limited liability company, subsidiary, conglomerate, affiliate, member, and other
identifiable and related legal entity—that has or might have an interest in the outcome:

Click or tap here to enter text.

Each entity with publicly traded shares or debt potentially affected by the outcome:

Click or tap here to enter text.

Each additional entity likely to actively participate, including in a bankruptcy
proceeding the debtor and each member of the creditor’s committee:

Click or tap here to enter text.

Each person arguably eligible for restitution:

Click or tap here to enter text.

2
    When filing via CM/ECF, use the “Certificate of interested persons and corporate disclosure
    statement” event under Civil Events-Other Filings-Other Documents.


                                          Page 4 of 7
Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 5 of 7 PageID 129




If filed by a nongovernmental corporate party, then identify any parent corporation
and any publicly held corporation owning 10% or more of its stock or state there is no
such corporation:

Click or tap here to enter text.

I certify that, except as disclosed, I am unaware of an actual or potential conflict of
interest affecting the district judge or the magistrate judge in this action, and I will
immediately notify the judge in writing within fourteen days after I know of a conflict.


______________________________________
[signature of counsel or unrepresented party
see Fed. R. Civ. P. 11(a)]

Click or tap to enter a date.




                                      Page 5 of 7
Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 6 of 7 PageID 130




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

NORRIS WILLIAMS,

         Petitioner,

v.                                               Case No.: 2:22-cv-309-SPC-MRM

UNITED STATES OF AMERICA,

         Respondent.


                          NOTICE OF A RELATED ACTION3

         Under Local Rule 1.07(c), “lead counsel has a continuing duty to notify the

judge of a related action pending in the Middle District or elsewhere.” But for removal

cases, the parties need not identify the original state-court proceeding in this

Notice.

         Counsel and unrepresented parties must also inform the Court about any related

cases previously filed with any court or administrative agency. And counsel and

unrepresented parties have a continuing duty to promptly inform the Court of any

newly filed similar or successive cases by filing an Amended Notice.

         I certify that the above-captioned case:

     ☐       IS related to pending or closed civil or criminal case(s) previously filed in
             this Court, or any other federal or state court, or administrative agency as
             indicated below:


        When filing via CM/ECF, use the “Notice of pendency of related cases” event under Civil
         3

Events-Other Filings-Notices.


                                         Page 6 of 7
Case 2:22-cv-00309-SPC-MRM Document 2 Filed 05/11/22 Page 7 of 7 PageID 131




   ☐      IS NOT related to any pending or closed civil or criminal case filed with
          this Court, or any other federal or state court, or administrative agency.



______________________________________
[signature of counsel or unrepresented party
see Fed. R. Civ. P. 11(a)]

Click or tap to enter a date.




                                     Page 7 of 7
